                                                                                                                       IT
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           UNITED STATES DISTRICT COURT
           EASTERN DISTRICT OF NEW YORK
           ----------------------------------------------X                       No. CV-12-1209
           INTELLIGENT DIGITAL SYSTEMS, LLC, RUSS &
           RUSS PC DEFINED BENEFIT PENSION PLAN, and                             (ADS)
           JAY EDMOND RUSS, all individually and as
           assignees of Jack Jacobs, Robert Moe, Michael Ryan,                     ii0Mf6SEII)
           Martin McFeely, and Jason Gonzalez,                                  FINAL JUDGMENT
                                                                                IN A CIVIL ACTION
                                             Plaintiffs,
                                                                                       F 1LED
                                                                                 IN CL~RK'S c·:=FiCE
                   -against-                                              U.S. Dls·,-~H.'::':l CCLJ'r:.(1 r::.O.N.Y.



            BEAZLEY INSURANCE COMPANY, INC.,
                                                                          * OCT 05 2016 *
                                                                           LONG iSLAND OFFICE

                                              Defendant.
            ----------------------------------------------x
                   WHEREAS, this case came before the Court on September 12, 2016, for a trial by jury

            presided over by The Honorable Arthur D. Spatt;

                   WHEREAS, the issues have been tried and the jury rendered its verdict on September 21,

            2016, in favor of Defendant Beazley Insurance Company, Inc. ("Beazley"). See ECF No. 153.

                   WHEREAS, on September 21, 2016, Beazley, by its counsel, moved the Court to dismiss

            the Plaintiffs' two causes of action for declaratory judgment, or to otherwise enter judgment in

            favor of Beazley. The Court granted Beazley's motion on the record. See Trial Tr. 885:2-7.

                   IT IS ORDERED AND ADJUDGED THAT:

                   I.      Judgment is entered in favor of Defendant Beazley on all causes of action; and

                   2.     Plaintiffs Intelligent Digital Systems, LLC, Russ & Russ PC Defined Benefit

                          Pension Plan, and Jay Edmond Russ, recover nothing; and

                   3.     The Amended Complaint (ECF No. 37) is dismissed with prejudice; and

                          Pursuant to Fed. R. Civ. P. 54 and Local Civil Rule 54.1, Defendant Beazley may MoVt              fa(
                          recover costs.
..   -- Case
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                       ()-t?5;
             DATED: ~, 2016
                    Central Islip, New York




                                                                s/ Arthur D. Spatt




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